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ORIGINAL

FILED IN CLERK'S OFFICE
IN THE UNITED STATES DISTRICT COURT _sus.0.c.- Gainesville

NORTHERN DISTRICT OF GEORGIA

GAINESVILLE DIVISION JUL 1 8 2008
JAMES N. HATTEN, Clerk
JOANNA CROWE, BRIA
. puty Clerk
Plaintiff,

CIVIL ACTION FILE
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NO.

 

PENNCRO ASSOCIATES, INC.,
a Pennsylvania corporation,

-2 08-CV-0140 -WCO

 

Defendant.
COMPLAINT FOR DAMAGES
INTRODUCTION
1. This is an action for damages against the defendant for violations of the

Federal Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq.

SUBJECT MATTER JURISDICTION

2. Subject matter jurisdiction in this Court is proper pursuant to 15 U.S.C. §

1692k(d) and 28 U.S.C. § 1337 (federal question jurisdiction).

 
 

 

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PARTIES AND PERSONAL JURISDICTION
Plaintiff is a resident of this State, District and Division and is authorized by
law to bring this action.
Defendant PENNCRO ASSOCIATES, INC. is a corporation organized
under the laws of the State of Pennsylvania. [Hereinafter, said Defendant is
referred to as "PENNCRO.”]
PENNCRO is subject to the jurisdiction and venue of this Court.
PENNCRO may be served by personal service upon its authorized agent in
the State of Georgia, to wit: C T Corporation System, 1201 Peachtree Street
N.E., Atlanta, Georgia 30361.
Alternatively, PENNCRO may be served by personal service upon an
authorized agent at its principle place of business, to wit: 95 James Way,
Suite 113, Southampton, Pennsylvania 18966.
Alternatively, PENNCRO may be served by personal or substitute service

pursuant to.the Federal Rules of Civil Procedure and, as applicable, the laws

of the States of Georgia or Pennsylvania.

 

 
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FACTS COMMON TO ALL CAUSES
PENNCRO uses the mails in its business.
PENNCRO uses telephone communications in its business.
The principle purpose of PENNCRO’s business is the collection of debts.
PENNCRO regularly collects or attempts to collect debts owed or due, or
asserted to be owed or due, another.
PENNCRO is a debt collector subject to the provisions of the Fair Debt
Collection Practices Act.
In the course of attempting to collect a debt allegedly due from Plaintiff to a
business not a party to this litigation, PENNCRO communicated with
Plaintiff in a manner which violated the Federal Fair Debt Collection
Practices Act.
PENNCRO left a series of recorded voice messages for Plaintiff regarding
an alleged debt.
In the voice mail communications, PENNCRO does not meaningfully
disclose its identity.
In the voice mail communications, PENNCRO does not state that the

communications were from a debt collector.

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In the voice mail communications, PENNCRO does not state that the
communications were an attempt to collect a debt.
Defendant’s communications violate the Fair Debt Collection Practices Act.

Plaintiff has complied with all conditions precedent to bring this action.

CAUSES OF ACTION
FAIR DEBT COLLECTION PRACTICES ACT
The acts of Defendant constitute violations of the Fair Debt Collection

Practices Act.

Defendant’s violations of the FDCPA include, but are not limited to, the

following:
The placement of telephone calls without meaningful disclosure of

the caller’s identity, in violation of 15 U.S.C. § 1692d(6);

The use of any false, deceptive, or misleading representations

or means in connection with the collection of any debt, in

violation of 15 U.S.C. § 1692e; and

 
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25. The failure to disclose in subsequent communications that the
communication is from a debt collector, in violation of 15
U.S.C. § 1692e(11).

26. Asaresult of Defendant’s actions, Plaintiff is entitled to an award of

statutory damages, as well as an award of costs and attorney fees.

WHEREFORE, PLAINTIFF RESPECTFULLY PRAYS THAT
JUDGMENT BE ENTERED AGAINST DEFENDANT AND IN FAVOR OF
PLAINTIFF, AS FOLLOWS: |

a) That Plaintiff be awarded statutory damages;

b) That Plaintiff be awarded the expenses of litigation including a
reasonable attorney fee;

c) That the Court declare each and every defense raised by Defendant to
be insufficient; and

d) That the Court grant such further and additional relief as is just in the

circumstances.

 

 
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Respectfully submitted,

THE LAW OFFICE OF KRIS SKAAR, P.C.

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Kris Skaar
Attorney for Plaintiff
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